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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

T.K,,

Plaintiff,

Vv. Civil Action No. 19-cv-17005 (FLW) (DEA)

JUUL Labs, Inc. and PAX Labs, Inc.,

Defendants.

 

 

 

STIPULATION AND [PR@PSOSED] ORDER TO STAY PROCEEDINGS
PENDING JPML RULING

This Stipulation and [Proposed] Order is entered into by and between Plaintiff T.K.
(“Plaintiff”), on the one hand, and Defendants JUUL Labs, Inc. and PAX Labs, Inc.
(“Defendants”), on the other hand (collectively, the “Parties”), by and through their respective
counsel of record.

WHEREAS, on July 29, 2019, JUUL Labs moved the Judicial Panel on Multidistrict
Litigation (“JPML”) for an order transferring numerous cases presenting common questions of
fact and law in several federal district courts across the country in which JUUL Labs is a
defendant, and any subsequently filed tag-along cases, to the U.S. District Court for the Northern
District of California for coordination or consolidation (the “MDL Motion,” MDL No. 2913,
Dkt. No. 1);

WHEREAS, on August 21, 2019, Plaintiff filed the Complaint in this action, which
includes factual allegations and legal claims that are substantially similar to those asserted in

over 20 cases identified in the MDL Motion and subsequent tag-along notices;
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WHEREAS, the JPML has set September 26, 2019 as the hearing date for the MDL
Motion (MDL No. 2913, Dkt. No. 23);

WHEREAS, the JPML’s ruling on the MDL Motion may result in the transfer of this
action to another judicial district for coordinated and/or consolidated pre-trial proceedings;

WHEREAS, the Parties believe that it would conserve the resources of the Court and the
Parties to postpone further litigation of this case, including further pleading practice, until the
JPML rules on the pending MDL Motion; and

WHEREAS, the requested stay, if granted, would not result in prejudice to any party, and
would be in effect only until the JPML issues its decision;

STIPULATION

NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
the Parties, subject to concurrence and order by the Court, that:

1, All proceedings and deadlines, including but not limited to the requirement for
Defendants to move, answer, or otherwise respond to the Complaint, shall be stayed in this
action pending further order of this Court following the decision of the Judicial Panel on
Multidistrict Litigation on the pending Motion to Transfer Related Cases for Consolidated
Pretrial Proceedings (MDL No. 2913, Dkt. No. 1);

2. In the event the JPML does not transfer this case pursuant to 28 U.S.C. § 1407,
the Parties will promptly notify the Court regarding the outcome of the MDL Motion, and
propose a timetable for any action with respect to the Complaint that may be required to take
place in this Court; and

3, The Parties reserve all other rights, including but not limited to Plaintiff's ability

to dismiss its claims against any Defendant during the pendency of the stay.
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Dated: September 4 2019

SO ORDERED.

Dated: September 6, 2019

s/ Michael A. London

Michael A. London (NJ Bar 048501997)
DOUGLAS AND LONDON, P.C.

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New York, NY 10038

Tel: (212) 566-7500

 

Attorney for Plaintiff TK.

fd Low

Hohorable Freda L. Wolfson
Chief Judge, United States District Court
District of New Jersey

AGREED AND CONSENTED TO BY:

s/ Marshall R. King

Marshall R. King (NJ Bar 023301991)
Joseph Eval]

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s/ Tyler Doh

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